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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION


DAIMEON MOSLEY,

                               Plaintiff,
               V.                                 Case No. 3:17-cv-00924-JD-MGG

KOHL'S DEPARTMENT STORES, INC.,

                               Defendant.



                       VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, DAIMEON MOSLEY ("Plaintiff'), by and through undersigned counsel, hereby

files this Notice of Voluntary Dismissal of this Action with prejudice pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and gives notice of the following:

       1.      Defendant, KOHL'S DEPARTMENT STORES, INC. ("Defendant"), has not filed

an Answer or a Motion for Summary Judgment and therefore the dismissal of this action at

Plaintiffs request is proper pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

       2.      This case shall be dismissed with prejudice with each party bearing his/its own

attorneys' fees and costs.

                                              BY: /s/ Jason S. Weiss
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 14th day of March, 2018, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which automatically gives
notice.

                                         BY: /s/ Jason S. Weiss
                                                 Jason S. Weiss
                                                 Jason* swlawyer. corn
                                                 Florida Bar No. 356890
